Case 1:25-cv-00339-RJJ-SJB ECFNo.1, PagelD.1 Filed 03/27/25 Pere “GR

March 27, 2025 1:03 PM
CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
In The United States District Court BY:JMW SCANNED BY: JW 13-29

110 Michigan St, Grand Rapids 49503

1:25-cv-339
Robert J. Jonker
Eric D. Gant, 777 3 Mile Rd, hon. U.S. District Judge

Walker MI 49544

V
Case #

Nelnet,
Lincoln Square
121 S 13th St, Lincoln Nebraska

Complaint

Now comes plaintiff Eric Gant, filing a civil suit, in pro per and states the following:
1. In 2016 Eric took out student loans with the Federal Department of Education.
2. After a consideration Eric has decided to discharge his obligations under

§ 3-604. DISCHARGE BY CANCELLATION OR

RENUNCIATION »s

(a) A person entitled to enforce an instrument , with or without
consideration , may discharge the obligation of ( a ) party to pay the
instrument (i) by an intentional voluntary act, such as surrender of the
instrument to the party, destruction, mutilation, or cancellation of the
instrument, cancellation or striking out of the party's signature, or the
addition of words to the instrument indicating discharge, or (ii) by
agreeing not to sue or otherwise renouncing rights against the party
by a signed record.

3. I Herby renounce my rights against myself and your self. That says A
party not another party.
4. Under 3-301. PERSON ENTITLED TO ENFORCE INSTRUMENT.

A person may be a person entitled to enforce the instrument even
though the person is not the owner of the instrument or is in wrongful
possession of the instrument......We see here even if he owns it or not
he can be entitled to enforce it.
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§ 3-104. NEGOTIABLE INSTRUMENT.
(b) " Instrument " means a negotiable instrument .

(a) Except as provided in subsections (c) and (d), " negotiable
instrument " means an unconditional promise or order to pay a fixed
amount of money, with or without interest or other charges described
in the promise or order, if it:....we see here if has to meet these
standards or it's not a unconditional promise or order.

(1) is payable to bearer or to order at the time it is issued or first
comes into possession of a holder;

(2) is payable on demand or at a definite time; and

(3) does not state any other undertaking or instruction by the person
promising or ordering payment to do any act in addition to the
payment of money, but the promise or order may contain (i) an
undertaking or power to give, maintain, or protect collateral to secure
payment, (ii) an authorization or power to the holder to confess
judgment or realize on or dispose of collateral, or (iii) a waiver of the
benefit of any law intended for the advantage or protection of an
obligor.

5. We see here 2 & 3 have to be met at the same time, we did not. 1 is
our only option left. When you first come into possession of it, if was
based on when you created it, so it was not payable at that time.

6. § 3-109. PAYABLE TO BEARER OR TO ORDER
(a) A promise or order is payable to bearer if it:

(1) states that it is payable to bearer or to the order of bearer or
otherwise indicates that the person in possession of the promise or
order is entitled to paymenty..... technically it's not payable to bearer
because bearer is a document and not a person.....it does not indicate
that the person in possession is entitled to payment, it states your
company may be entitled but based on how I took out loans with the
department of education, Nelnet was not indicated to be entitled to
payment.
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(2) does not state a payee; or.....(it states a payee, me)(1 & 2 have to
both be met or 2 us optional to 3).

(3) states that it is payable to or to the order of cash or otherwise
indicates that it is not payable to an identified person.....

Under the constitution of the United States of America,
Article IV, Section 1:

Full Faith and Credit shall be given in each State to the public Acts, Records, and
judicial Proceedings of every other State. And the Congress may by general
Laws prescribe the Manner in which such Acts, Records and Proceedings shall
be proved, and the Effect thereof.

7. Technically each judge exist in a state, so they shall give full faith in
credit simply to another state, not state government to government,
that would violate equal rights.

8. Brown v board of education demonstrates equal rights is to make
things more equal, not apply the same law to everyone. In addition a
class of one action confirms that. I will sie aggressively for over
$1million or upwards about that.

9. With that being said, under Michigan law mcl 767.24

8) As used in subsection (7):.....that dong say limited to this section

(a) "Identified" means the individual's legal name is known

We appear not to have a law explaining what an individual is, so a
legal dictionary recognized at the supreme Court is Merriam Webster Is
dictionary.

10. Under Merriam Webster, individual means;
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(1) : a single human being as contrasted with a social group or
institution. a teacher who works with individuals. (2) : a single
organism as distinguished from a group.

11. Ummm your company can never meet the standards of an
individual. Your not a human.

12. Point is, | now sue because your company stated they will not
discharge the debt when | have a right to do so.

13. I'm asking for a discharge of the debt and tremble damages
known as time damages in the amount of $10,000 because |
expect this case to last that long and my time is worth
something, plus a discharge of the debt. These fees are
adjustable

14. I'm asking for full faith and credit again under Michigan law;

600.2919a Recovery of damages, costs, and attorney's fees by person damaged;
remedy cumulative.

Sec. 2919a.

(1) A person damaged as a result of either or both of the following may recover 3 times the
amount of actual damages sustained, plus costs and reasonable attorney fees:

15. In addition, you simply are not in possession because the online submission is a copy of the
promise, not the original promise.

Signed, Date
oe A ge 02/17 [2.028

/s/ Eric D. Gant 03/17/2025
